Case 2:05-cr-20249-.]TF Document 23 Filed 07/11/05 Page 1 of 2 Page|D 22

IN THE UNITED sTATEs DISTRICT coURT i:“~"i'*:i M. -1>.\::~.
FoR THE WESTERN DISTRICT oF rENNEss s M 1
WESTERN DIVISION 3 » l l Plr 5= 00

 

UNITED STATES OF AMERICA

 

 

 

V.
ROBERTA REYNA 05cr20249-2-B
ORDER ON ARRAIGNMENT
This cause came to be heard on /4 'Zg'fe`?}nited States Attomey
for this district appeared on behalf of the government, d e de ndant appeared in person and with
counsel:

NAME /L){ WV)/ML W~”M Who isnaained/Appoimed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unl_ess, for good cause
shown to a District Judge, such period is extended

The defendant, Who is not in custody, may stand on his present bond.
\; The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the Custody

of the U.S. Marshal.
MM%@M/

UNITED STATES MAGISTRATE ]UDGE

CHARGES - 18 USC 846.F
CONSPIRACY TO DISTRIBUTE CONTROLLED SUBSTANCE

Attorney assigned to Case: T. Colthurst

Age: 611

 

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of`thc document docketed as number 23 in
case 2:05-CR-20249 Was distributed by f`aX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

